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                       Exhibit A
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                                     CASE NO.: 1:10-CV-21389-FAM

   ASTRAZENECA PHARMACEUTICALS LP,
   ASTRAZENECA UK LIMITED,
   IPR PHARMACEUTICALS INC., and
   SHIONOGI SEIYAKU KABUSHIKI KAISHA,

            Plaintiffs/Counterclaim Defendants,

   VS.


   APOTEX INC.,

            Defendant/Counterclaim Plaintiff.


                                 [PROPOSED] STIPULATED ORDER
                                PURSUANT TO FED. R. CIV. P. 41(a)(2)

            This cause came before the Court, upon the Agreed Motion for Entry of Stipulated Order

   Pursuant to Fed.R.Civ.P. 41(a)(2) which was filed by Plaintiffs ASTRAZENECA

   PHARMACEUTICALS LP, ASTRAZENECA UK LIMITED, IPR PHARMACEUTICALS

   INC., and SHIONOGI SEIYAKU KABUSHIKI KAISHA, and Defendant/Counterclaim

   Plaintiff, APOTEX, INC. The Court having reviewed the file and being otherwise fully advised

   in the premises, it is hereby:

            ORDERED, ADJUDGED, AND DECREED that:

                1.   This case is reopened for final disposition.

            2.       The Court notes and accepts the agreement by Apotex Inc. that it is bound by all

   holdings and judgments for Plaintiffs and against Apotex Corp. regarding infringement of claims

   6 and 8 of the '314 patent based on the submission of ANDA No. 79-145 to the FDA, and the

   validity and enforceability of those patent claims, in Civil Action No. 07-809-JJF-LPS before the


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   Delaware Court and all appeals therefrom, including but not limited to (a) the Delaware Court's

   July 15, 2010 Amended Final Judgment Order providing, inter alia, that it is:

                   ORDERED AND ADJUDGED that Judgment shall be entered in favor of
          Plaintiffs and against [Apotex Corp.] on all counterclaims alleging
          noninfringement, invalidity, or unenforceability of the '314 patent; and it is
          further,
                                                      ***
                   ORDERED that pursuant to 35 U.S.C. §271(e)(4)(A), the effective date of
          any approval of Abbreviated New Drug Application No. 79-415, filed by or on
          behalf of Apotex [Corp.], shall be a date which is not earlier than the date of
          expiration of the '314 patent (January 8, 2016, with attached six months of
          pediatric exclusivity ending on July 8, 2016);

   (b) the Federal Circuit's affirmance of the Delaware Court's holdings for Plaintiffs and against

   Apotex Corp., and (c) subsequent holdings upon further court review, if any, of the Delaware

   Court's holdings for Plaintiffs and against Apotex Corp. in Civil Action No. 07-809-JJF-LPS or

   the Federal Circuit's affirmance of those holdings. Apotex Inc. further agrees that it is precluded

   from asserting any claims or issues regarding infringement, validity, or enforceability of the '314

   patent to the same extent that Apotex Corp. is precluded.

          3.      Except to the extent set forth above, all claims by Plaintiffs against Apotex Inc.

   are dismissed without prejudice, and all counterclaims by Apotex Inc. against Plaintiffs are

   dismissed without prejudice.

          4.      The Clerk of the Court is directed to enter this Order.

   SO ORDERED, this                day of                           , 2013.




                                                 Frederico A. Moreno
                                                 Chief United States District Judge




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